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                           IN THE UNITED STATES DISTRICT COURT


                                 FOR THE DISTRICT OF OREGON


ESTATE OF AARON D. STANTON, by
DOUGLAS STANTON, Personal                  Case No.  3:23-cv-01767-AN
Representative, and A. S., a minor, by and
through her Guardian ad Litem, DOUGLAS
STANTON,                                   DECLARATION OF VANSOPHEAK
                                           (SOPHIA) PHOU IN SUPPORT OF
                     Plaintiffs,           MOTION FOR APPOINTMENT OF
                                           GUARDIAN AD LITEM
     V.


JOSHUA DYK and CITY OF PORTLAND,
a municipal corporation,


                       Defendants.




   I, Vansopheak (Sophia) Phou, declare as follows:
    1. I am the birth mother of plaintiff A.S., a female child, seven years of age. AaronD.
          Stanton was the father of AS. I make this declaration in support of the Motion for
          Guardian ad Litem for AS. I have personal knowledge of the information contained in
          this declaration. If called up to do so, I could and would competently testify regarding
          the matters set forth herein.
   2. I have spoken to Douglas Stanton, A.S.'s grandfather, and he agrees to be the guardian ad
      litem for my daughter. I believe that he will be fully able to represent my daughter's
      interests in this action based on his relationship with her as her grandfather, his status as
      Personal Representative of the estate and his intimate knowledge and understanding of
      my daughter's circumstances and I consent to his appointment.
   Pursuant to 28 USC § 1746, I declare under penalty of perjury that the foregoing is true
   and correct.
      Dated: November 2&, 2023.


                              Vansopheak (Sophia) Phou
Page 1-DECLARATION OF VANSOPHEAK (SOPHIA) PHOU IN SUPPORT OF
MOTION FOR APPOINTMENT OF GUARDIAN AD LITEM
